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                SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

           This Settlement Agreement and Release of Claims, along with all exhibits

hereto (collectively, the “Settlement Agreement”), is entered into by and between

Shell Lake Health Care Center LLC and Premier Healthcare Management of Shell

Lake LLC (“Defendants”) and Courtney Coetzee (the “Class Representative” or the

“Plaintiff”), for herself and on behalf of a class and collective class of all similarly-

situated employees, in the case of Coetzee v. Shell Lake Health Care LLC et al., No.

21-cv-337, filed in the United States District Court for the Western District of

Wisconsin (the “Lawsuit”).

                                       RECITALS

           WHEREAS, Class Representative filed a lawsuit under the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., and Wisconsin wage payment and

overtime laws, Wis. Stats. §§ 103, 104, 109, et seq., as a class and collective action to

recover unpaid wages against Defendant Shell Lake Health Care Center LLC on

May 20, 2021 (dkt. 1);

           WHEREAS, Defendant filed an Answer denying the material allegations in the

Complaint on June 23, 2021 (dkt. 5);

           WHEREAS, Plaintiff amended her complaint to add Defendant Premier

Healthcare Management of Shell Lake LLC on September 23, 2021 (dkt. 11);

           WHEREAS, Class Representative is represented in the Lawsuit by the law

firm of Hawks Quindel, S.C. (“Class Counsel”);




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           WHEREAS,     Plaintiff   moved   for   Conditional   Class   Certification   on

October 22, 2021 (dkt. 24) and Defendants opposed said motion (dkt. 30) and the

Court has not issued an order on Plaintiff’s motion;

           WHEREAS, Class Counsel has conducted a thorough investigation of the facts

pertinent to the allegations in the Complaint and has likewise investigated the law

regarding the claims against Defendants and asserted defenses. The Class

Representative recognizes the risk and expense associated with a trial of her claims

and any further appeals that may follow, and the uncertainty inherent in complex

litigation, and has concluded that the settlement set forth in this Agreement is in her

best interest and the best interest of the Classes and, ultimately, judicial economy.

           WHEREAS, Defendants deny that they are liable to the Class Representative

or the Classes and deny that their actions violated the FLSA or Wisconsin wage and

hour laws. Defendants’ counsel has conducted a thorough investigation of the facts

pertinent to the allegations in the Complaint and likewise investigated the law

regarding the claims against Defendants and the asserted defenses. Defendants are

willing to enter into this Agreement to avoid the further expense, uncertainty, and

inconvenience of litigation, and have concluded that it is in its best interest to resolve

and settle all claims which have been made, or could be made, against them by the

Classes arising out of the matters alleged in the Complaint and Defendants’ alleged

violations of the FLSA and Wisconsin wage and hour laws.




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           WHEREAS, the parties have agreed to settle this case as to the FLSA collective

and Rule 23 Classes (collectively “Class Members”), as identified in Exhibit A to this

Agreement;

           NOW THEREFORE, the parties, intending to be legally bound and in

consideration of the mutual covenants and other good and valuable consideration set

forth below, do hereby agree as follows:

           1.    EFFECTIVE DATE. The “Effective Date” of this Agreement shall be the

date of the entry of the Final Order if no objections to the settlement are made by the

time of the Fairness Hearing (“Effective Date”). If valid objections, as provided herein,

to this Agreement have been made by the time of the Fairness Hearing, the Effective

Date shall be the later of: (a) the date of the expiration of the time to appeal from the

Final Order without an appeal having been taken or (b) if an appeal shall be taken

from the Final Order, the date upon which all appeals, including petitions for leave

to appeal, certiorari, rehearing, or any proceedings resulting therefrom, have been

finally disposed of in such a manner that the Agreement is affirmed in its entirety

and the settlement may be consummated without change. The parties waive their

rights to appeal from any Final Order approving this Agreement. If no objections to

this Agreement have been made by the time of the Fairness Hearing, all payments

under this Agreement shall be due within thirty (30) days of the applicable Effective

Date as set forth herein.




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           2.    CLASS DEFINITIONS.        For purposes of this settlement only, the

parties agree to the Court’s certification of the following Classes under Fed. R. Civ.

P. 23 and 29 U.S.C. § 216(b):

                    a. FLSA Collective Class: All persons who have been or are
                       currently employed by Shell Lake Health Care Center LLC
                       and/or Premier Healthcare Management of Shell Lake LLC in
                       the Shell Lake, Wisconsin facility who were not permitted to
                       leave the premises for unpaid meal breaks and therefore denied
                       overtime wages at any time between March 1, 2020 and
                       August 28, 2021.

                    b. Wisconsin Unpaid Wage Class: All persons who have been or are
                       currently employed by Shell Lake Health Care Center LLC
                       and/or Premier Healthcare Management of Shell Lake LLC in
                       the Shell Lake, Wisconsin facility and who were not permitted to
                       leave the premises for unpaid meal breaks and therefore denied
                       regular and/or overtime wages at any time between
                       March 1, 2020 and August 28, 2021.

           For purposes of this Agreement, the putative members of the FLSA Collective

Class and Wisconsin Unpaid Wage Class shall include only the individuals named in

Exhibit A of this Agreement. The “Final Classes” will consist of the members of FLSA

Collective Class and Wisconsin Unpaid Wage Class but will not include those

individuals who opt out of the Agreement under Wisconsin law and who also fail to

consent to opt in to this Agreement under the FLSA, as provided herein.

           Upon execution of this Agreement, the parties will jointly request that the

Court preliminarily find that this Agreement is fair to all Class Members and approve

the class notice (“Class Notice” or “Notice”) attached as Exhibit B to this Agreement

to be sent to the Classes via first-class U.S. mail.




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           3.    CONSIDERATION. In consideration for the Final Classes’ release of

claims as stated herein, Defendants shall pay no more than $155,000 to be

apportioned as follows:

                 a. Up to $107,500 payable to the members of the Wisconsin Unpaid

                    Wage Class and FLSA Collective Class who do not exclude

                    themselves, as set forth in Exhibit A of this Agreement.

                 b. Up to $1,000 payable to Courtney Coetzee as a Service Payment for

                    her efforts in resolving this matter individually and on behalf of the

                    Final Classes as set forth in Exhibit A of this Agreement. Class

                    Counsel will petition the Court for a Service Payment not to exceed

                    $1,000. Defendants agree that they will take no position in favor of

                    or against a requested Service Payment provided it does not exceed

                    $1,000.

                 c. $46,500 payable to Hawks Quindel, S.C., as reasonable attorney’s

                    fees and costs incurred by the Class Representative in this matter –

                    inclusive of litigation costs and settlement administration costs as

                    approved by the Court. Class Counsel will petition the Court for an

                    award of attorney’s fees, costs, and administration-related expenses,

                    not to exceed $46,500. Defendants agree that they will take no

                    position in favor of or against a requested award of attorney’s fees,

                    costs, and administration-related expenses, provided the request

                    does not exceed $46,500.


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                 d. Each member of the Wisconsin Unpaid Wage Class and FLSA

                    Collective Class who does not exclude him/herself as provided under

                    this Agreement shall be entitled to his or her respective portion of

                    the payments as follows. Individual damages shall be calculated for

                    each class member by totaling the number of 30-minute meal periods

                    deducted from their wages during the class period, and multiplying

                    those amounts by their regular and overtime rates. Overtime

                    damages for FLSA Collective Class members shall then be increased

                    by 50% due to the additional liquidated damages available under the

                    FLSA and not available under Wisconsin law. This increase is only

                    applicable to overtime amounts, not unpaid regular wages. Damages

                    for all Class Members, less those who timely exclude themselves, will

                    then be totaled and used to a create a pro-rata percentage for all

                    participating Class Members by dividing their individual damages

                    by the total damages. Individual payments will then be calculated by

                    multiplying the pro-rata percentages by the $107,500 allocated to the

                    Classes.

                 e. In the event the Court awards less than the amount requested for

                    the Service Payment or for attorney’s fees, costs, and administrative-

                    related expenses, the difference between the amounts requested and

                    the amounts awarded shall be added to the settlement proceeds to be




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                    distributed to the Classes based upon the calculations set forth

                    herein, and further subject to the terms of this Agreement.

                 f. Settlement payments to members of the Final Classes shall be in the

                    amounts set forth as an attachment to the parties’ Motion for Final

                    Approval.

           4.    SETTLEMENT PAYMENTS. Defendants shall pay up to $155,000 in

settlement proceeds. Settlement proceeds shall be paid in accordance with Section 3

above. Payments to the Wisconsin Unpaid Wage Class members, who do not exclude

themselves, shall be allocated as two-thirds W-2 wages and one-third 1099 non-wage

income. Payments made to the FLSA Collective Class members who timely consent

to participate in the settlement shall be allocated as one-half W-2 wages and one-half

liquidated damages. All W-2 payments shall be less proper withholdings and payroll

taxes.

           Payments shall be remitted to Hawks Quindel, S.C., Attn: David Zoeller, at

409 E. Main Street, Madison, Wisconsin 53703. Within thirty (30) days following

entry of the Order granting final approval of the settlement, Defendants will provide

to Class Counsel checks for the following:

                 a. Amounts allocated to the Final Wisconsin Unpaid Wage and FLSA

                    Collective Classes as set forth on Exhibit A as modified as a result of

                    re-allocations due to:

                    i.   Reductions by the Court in the amount of requested Service

                         Payment; or


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                   ii.   Reductions by the Court in the amount of attorney’s fees, costs,

                         and administrative expenses requested by Class Counsel.

                 b. The amount approved by the Court for a Service Payment to

                    Courtney Coetzee;

                 c. The amount awarded by the Court for attorney’s fees, costs, and

                    administrative expenses.

           Class Counsel shall promptly thereafter send, via first-class U.S. mail,

settlement checks to all eligible Final Class Members. Class Counsel shall advise

counsel for Defendants as to all checks that were returned as non-deliverable and

Defendants, through their counsel, shall advise Class Counsel of all checks that were

not cashed at the conclusion of the 90-day check-cashing period. Class Counsel shall

advise counsel for Defendants of the date on which settlement checks were mailed to

Final Class Members.

           If objections to this Agreement have been made by the time of the Fairness

Hearing that cause the Effective Date of this Agreement to occur after the due date

of any payments set forth in this paragraph, the due date for all such payments under

this Agreement shall be within thirty (30) days of the applicable Effective Date as set

forth in paragraph 1 above.

           5.    RELEASE OF COMPENSATION CLAIMS FOR FLSA COLLECTIVE

CLASS. As consideration for this Agreement, and upon the Effective Date, the

members of the FLSA Collective Class who have opted in to this matter, including

each and every one of their respective present, former, and future agents,


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representatives, attorneys, heirs, administrators, executors, assigns, or other person

acting on their behalf or for their benefit (collectively, “Releasors”) hereby release and

discharge Defendants as well as their respective predecessors and successors in

interest, and present, former, and future affiliates, parents, subsidiaries, related

parties, insurers, officers, directors, agents, employees, members, shareholders,

general partners, limited partners, beneficiaries, representatives, heirs, attorneys,

collectors, brokers, assigns, or entities for which Defendants performs services

(including, without limitation, any investors, trusts, or other similar entities)

(collectively, “Releasees”) from any causes of action, suits, claims, or demands, known

or unknown at the time, which the Class Representative and the FLSA Collective

Class now have or ever had against the Releasees pursuant to the FLSA and arising

out of Defendants’ alleged failure to pay compensation through the date this

Agreement is fully executed by the parties.

           6.    RELEASE OF COMPENSATION CLAIMS FOR WISCONSIN UNPAID

WAGE CLASS. As consideration for this Agreement, and upon the Effective Date,

the members of the Wisconsin Unpaid Wage Class who have not excluded themselves

from this Agreement as provided herein, representatives, attorneys, heirs,

administrators, executors, assigns or any other person acting on their behalf or for

their benefit (collectively, “Releasors”) hereby release and discharge Defendants, as

well as their respective predecessors and successors in interest, and present, former,

and future affiliates, parents, subsidiaries, related parties, insurers, officers,

directors, agents, employees, members, shareholders, general partners, limited


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partners, beneficiaries, representatives, heirs, attorneys, collectors, brokers, assigns,

or entities for which Defendants perform services (including, without limitation, any

investors, trusts, or other similar entities) (collectively, “Releasees”) from any causes

of action, suits, claims, or demands pursuant to Wisconsin law, whether based in

statutory or common law, and arising out of Defendants’ alleged failure to pay

compensation through the date this Agreement is fully executed by the parties.

           7.   JOINT MOTION FOR PRELIMINARY APPROVAL. The parties will

jointly request Preliminary Approval of the settlement set forth in this Agreement no

later than May 6, 2022. The joint motion will request the following relief in the form

of an Order that:

                a. Preliminarily    approves    this   Settlement   Agreement   as   fair,

                   reasonable, and adequate;

                b. Certifies, for settlement purposes only, this case as a class action

                   under Fed. R. Civ. P. 23;

                c. Certifies, for settlement purposes only, the FLSA Collective Class;

                d. Appoints Courtney Coetzee as Class Representative;

                e. Appoints Hawks Quindel, S.C., as Class Counsel pursuant to Fed. R.

                   Civ. P. 23(g);

                f. Approves the Class Notice and Consent Form in the form of Exhibits

                   B and C for distribution to all putative members of the FLSA

                   Collective Class and Wisconsin Unpaid Wage Class;




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              g. Finds that the Class Notice to be given constitutes the best notice

                 practicable under the circumstances, including individual notice to

                 all Wisconsin Unpaid Wage Class and FLSA Collective Class

                 members who can be identified with reasonable effort, and

                 constitutes valid, due, and sufficient notice to FLSA Collective Class

                 and Wisconsin Unpaid Wage Class members in full compliance with

                 the requirements of applicable law, including the due process clause

                 of the United States Constitution;

              h. Directs that each potential Wisconsin Unpaid Wage Class member

                 who wishes to be excluded from the Settlement Class must opt out

                 no later than forty-five (45) days after the mailing of the Class Notice

                 per the instructions set forth in the Notice (the “Notice Period”), and

                 that their response must be received by the date set forth in the

                 Court’s Preliminary Approval Order;

              i. Directs that any Wisconsin Unpaid Wage Class member who has not

                 properly and timely requested exclusion from the Wisconsin Unpaid

                 Wage Class shall be bound by this Agreement in the event the Court

                 issues a Final Order Approving Settlement;

              j. Schedules a Fairness Hearing approximately one hundred (100) days

                 after the Court’s Preliminary Approval Order to determine whether

                 this Settlement Agreement should be approved as fair, reasonable,




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                    and adequate, and whether the proposed Final Order Approving

                    Settlement should be entered;

                 k. Directs that Class Counsel shall file a Motion for Approval of

                    Attorney’s Fees and Costs at least twenty-one (21) days prior to the

                    Fairness Hearing, and that the Court shall determine at the Fairness

                    Hearing in what amount attorney’s fees and reimbursement of costs

                    and expenses should be awarded to Class Counsel; and

                 l. Directing that any Wisconsin Unpaid Wage Class member who

                    wishes to object in any way to the proposed Settlement Agreement

                    must file and serve such written objections per the instructions set

                    forth in the Class Notice no later than forty-five (45) days after the

                    mailing of the Notice, together with copies of all papers in support of

                    his or her position. The Class Notice shall state that the Court will

                    not consider objections of any Class Member who has not properly

                    served copies of his or her objections on a timely basis.

           The fact that the Court may require non-substantive changes to the parties’

proposed Preliminary Approval Order does not invalidate this Agreement. If the

Court refuses to grant Preliminary Approval, then this Agreement shall be null and

void and the provisions of paragraph 19 will apply.

           8.    NOTICE PROCEDURE. Notice procedures shall be as follows: Class

Counsel will deliver to all Class Members by first-class U.S. mail a copy of the Class

Notice (attached as Exhibit B to this Agreement), as approved by the Court, setting


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forth the settlement terms, exclusion rights under the Wisconsin Unpaid Wage Class

settlement, opt-in rights under the FLSA Collective Class settlement, and objection

rights of Wisconsin Unpaid Wage Class settlement. Class Counsel shall promptly

advise counsel for Defendants of the date on which the Notices were mailed. For any

Class Notice which is returned as undeliverable, Class Counsel may perform a single

skip trace or other appropriate step to identify proper current addresses for the

putative members of the Classes and re-mail the Class Notice to all such Class

Members. For Notices which are returned as undeliverable, Defendants, if requested,

will provide Social Security numbers for those Class Members. If, after a second

mailing of the Notice, the Notice is returned by the postal service as undeliverable,

the parties shall be deemed to have satisfied their obligation to provide the applicable

Notice to any such putative member of the Classes.

           9.    PRODUCTION OF THE CLASS LIST. Within seven (7) days of any

Order preliminarily approving this settlement and certifying the Wisconsin Unpaid

Class and FLSA Collective Class, Defendants will produce a list, in Microsoft Excel

format, with the first name, last name, and last known mailing address for all class

members.

           10.   OPT-IN PROCEDURE FOR FLSA COLLECTIVE CLASS MEMBERS.

Class Counsel shall include a Consent Form (Exhibit C to this Agreement) in the

Class Notice (Exhibit B to this Agreement) sent to the putative class members within

fourteen (14) days of the Court’s Order preliminarily approving this Agreement. The

putative members of the FLSA Collective Class will have forty-five (45) days from the


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date of mailing the Notice to return their signed Consent Forms to Class Counsel, as

set forth in the Notice, to assert their FLSA claims in this matter and receive their

pro-rata share of the Settlement Fund as identified in Exhibit A, and thereby waiving

their FLSA claims as stated in paragraph 5 of this Agreement. Class Counsel shall

file any Consent Forms that it receives postmarked within the Notice Period with the

Court via ECF. Any individual who has already filed a Consent Form to assert their

FLSA claims in this matter shall be entitled to their pro-rata portions of the FLSA

Settlement Fund irrespective of whether they return the Consent Form enclosed with

the Class Notice.

           11.   OBJECTIONS BY WISCONSIN UNPAID WAGE CLASS MEMBERS.

Any Wisconsin Unpaid Wage Class member who intends to object to the fairness of

the Settlement Agreement must, by the date specified in the Preliminary Order

Approving Settlement (which shall be no later than forty-five (45) days after the

mailing of the Class Notice), file any such objection with the Court and provide copies

of the objection to both Class Counsel and counsel for Defendants as provided in the

Notice.

                 a. FORM OF OBJECTIONS.              Any objection to the Settlement

                   Agreement must include: (a) the objector’s full name, address, and

                   telephone number; (b) a written statement of all grounds for the

                   objection accompanied by any legal and factual support for such

                   objection; (c) copies of any papers, briefs, or other documents upon

                   which the objection is based; (d) a list of all persons who will be called


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                   to testify in support of the objection at the Fairness Hearing; and

                   (e) a statement whether the objector intends to appear at the

                   Fairness Hearing. If the objector intends to appear at the Fairness

                   Hearing through counsel, the objection must also state the identity

                   of all attorneys representing the objector who will appear at the

                   Fairness Hearing. Any Wisconsin Unpaid Wage Class member who

                   does not file a timely written objection to the settlement and notice

                   of his or her intent to appear at the Fairness Hearing shall be

                   foreclosed from seeking any adjudication or review of the settlement

                   by appeal or otherwise.

           12.   REQUEST FOR EXCLUSION BY WISCONSIN UNPAID WAGE

CLASS MEMBERS. Any Wisconsin Unpaid Wage Class member who wishes to be

excluded from the Settlement Class must submit a request for exclusion as set forth

in the Class Notice no later than forty-five (45) days after the mailing of the Notice.

Class Counsel shall file any exclusion that it receives pursuant to this paragraph with

the Court via ECF. Any Wisconsin Unpaid Wage Class member who fails to submit a

timely request to be excluded shall receive his or her pro-rata portion of the Wisconsin

Unpaid Wage Class settlement and shall therefore be subject to and bound by this

Settlement Agreement and every order or judgment entered pursuant to this

Settlement Agreement and shall be deemed to have released their Wisconsin wage

and hour claims.




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           13.   NO CLAIMS-MADE PROCESS. The settlement payments shall be paid

without a claims-made process for the Wisconsin Unpaid Wage Class members who

have not opted out and for FLSA Collective Class members who have timely filed an

FLSA Consent Form, as set forth in Exhibit A to this Agreement, subject to any

adjustments described above in paragraph 3. Upon the Court’s Final Approval Order,

all members of this Wisconsin Unpaid Wage Class that have not excluded themselves

from this Agreement as provided herein shall have released their claims as set forth

in paragraph 6 above and shall be entitled to their pro-rata portion of the Settlement

Fund. Upon the Court’s Final Approval of this Agreement, all members of the FLSA

Collective Class who have timely submitted a Consent Form, as provided herein, shall

have released their claims as set forth in paragraph 5 above and shall be entitled to

their pro-rata portions of the Settlement Fund.

           14.   FAIRNESS HEARING.      On the date set forth in the Preliminary

Approval Order, a Fairness Hearing will be held at which the Court will: (a) decide

whether to certify the FLSA Collective Class and Wisconsin Unpaid Wage Class;

(b) decide whether to approve the Settlement Agreement as fair, reasonable, and

adequate; and (c) decide Class Counsel’s Motion for Service Payment and Attorney’s

Fees and Costs.

           15.   ENTRY OF JUDGMENT. If this Agreement is finally approved by the

Court, a Final Order Approving Settlement and directing the entry of judgment

pursuant to Federal Rule of Civil Procedure 54(b) shall be entered as follows:




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              a. Certifying the Wisconsin Unpaid Wage Class pursuant to Fed. R.

                 Civ. P. 23 and the FLSA Collective Class pursuant to 29 U.S.C.

                 § 216(b);

              b. Approving this Agreement as fair, reasonable, and adequate as it

                 applies to the Final Classes;

              c. Appointing Courtney Coetzee as Class Representative for the Final

                 Classes;

              d. Appointing Hawks Quindel, S.C., as Class Counsel;

              e. Declaring this Agreement to be binding on Defendants and the

                 Plaintiff and the Final Classes;

              f. Dismissing Case No. 21-cv-337 and the claims asserted in that

                 litigation with prejudice and without further costs to either party;

              g. Dismissing with prejudice and without further costs to either party

                 the released claims of the Final Classes;

              h. Dismissing without prejudice the claims of the putative Wisconsin

                 Unpaid Wage Class members who have properly and timely excluded

                 themselves in full accordance with the procedures set forth in this

                 Settlement Agreement; and

              i. Indicating the amount of the Service Payment to the Plaintiff and

                 attorney’s fees and costs to be awarded to Class Counsel consistent

                 with the Settlement.




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           16.   UNCLAIMED SETTLEMENT FUNDS/REVERSION/CY PRES. Any

unclaimed settlement funds, whether due to failure to cash a check within ninety (90)

days of its issuance (“Expiration Date”) or inability to locate a putative member of the

Classes or for any other reason, shall be issued to The Economic Justice Institute of

the University of Wisconsin Law School and provided to Class Counsel within ninety

(90) days of the Expiration Date of the settlement checks issued pursuant to this

Agreement. The amounts allocated to the Class Representative as Service Payment,

litigation and administrative costs, and attorney’s fees shall not be impacted.

Defendants’ counsel shall provide an accounting of unclaimed funds paid to The

Economic Justice Institute of the University of Wisconsin Law School under this

paragraph within ten (10) days of making such payment.

           17.   AGREEMENT NULL AND VOID IF NOT APPROVED BY THE

COURT. If this Agreement fails to be approved, then this Agreement shall be null

and void and the lawsuit will continue pursuant to a schedule to be set by the Court

with all parties retaining and putative class members retaining all of their claims

and defenses that existed at the time of settlement.

           18.   NO ADMISSION OF LAW OR FACT THROUGH THIS AGREEMENT.

In the event this Agreement shall become null and void for any reason, the provisions

of Rule 408 of the Federal Rules of Evidence will apply. No admission of law or fact,

or combination thereof, will be found to exist as a result of this Agreement.

           19.   NO ADMISSION OF LIABILITY OR LACK OF MERIT THROUGH

THIS AGREEMENT.           Neither this Agreement nor any negotiations shall be


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construed, offered, received as, or deemed to be evidence of an admission or concession

by the Class Representative or the Class of lack of merit, or by Defendants of any

liability or wrongdoing whatsoever, whether as alleged in the Complaint or otherwise.

Defendants specifically deny that the conduct alleged in the Complaint gives rise to

any such liability.

           20.   ENTIRE AGREEMENT. The parties acknowledge that this Agreement

along with all exhibits to this Agreement constitute the entire agreement among the

parties, and any other earlier or contemporaneous oral or written agreement

respecting its subject matter shall have no force or effect. This Agreement includes

all the representations of every kind and nature made by the parties one to the other.

           21.   AMENDMENTS. The parties agree that no party shall be deemed to

have drafted this Agreement. The parties cannot alter or modify this Agreement

except by an instrument in writing executed by each of them.

           22.   COUNTERPARTS. This Agreement may be executed in any number of

counterparts, with signatures transmitted via facsimile and/or electronically scanned

and mailed formats, each of which together shall be deemed one and the same

instrument. The parties agree that a facsimile, PDF or other electronic signature to

this Settlement Agreement and Release shall be treated and deemed as an original

signature.

           23.   NO ASSIGNMENT. Each person executing this Agreement on behalf of

any party hereto hereby warrants and represents that such person has the full




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authority to do so and has the authority to take appropriate action required or

permitted to be taken pursuant to the Agreement to effectuate its terms.

           24.   AGREEMENT TO COOPERATE FOR APPROVAL OF SETTLEMENT.

The parties to this Agreement agree to cooperate in the submission of this Agreement

to the Court. As soon as practicable, they will take all necessary steps to secure the

District Court’s Preliminary Approval of this Agreement. After notice to the Class

and an opportunity to object, the parties will take all steps reasonably necessary to

secure the District Court’s Final Approval of the Agreement and to secure the

dismissal of this lawsuit with prejudice, on and subject to the procedures and

conditions set forth herein. The parties shall cooperate in taking any such other steps

as may be necessary or as may be requested by the Court and shall otherwise use

their best efforts to implement this Agreement and the settlement provided for

herein.

           25.   WAIVER OF CLAIMS FOR ATTORNEY’S FEES AND COSTS.                     In

consideration of this Agreement, Courtney Coetzee hereby waives, discharges, and

releases the Releasees, as defined herein, of and from any and all claims for attorney’s

fees, by lien or otherwise, for legal services rendered by Class Counsel in connection

with this case, except for the attorney’s fees and costs that are awarded by the Court

in this case pursuant to the yet-to-be-filed petition for Class Counsel or attorney’s

fees and costs incurred upon any appeal of the Court’s Order finally approving this

Agreement.




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           26.   CHOICE OF LAW.      This Agreement shall be governed by and

interpreted in accordance with the laws of the State of Wisconsin for state issues and

federal law for federal issues.

                                        ***

           IN WITNESS WHEREOF, the undersigned have duly executed this

Agreement with the intent to be legally bound by its terms and conditions.




 Date:                                     By:

                                           Printed Name: Courtney Coetzee

                                           Title: Class Representative



 Date:                                     By:

                                           Printed Name:

                                           Title:

                                           On Behalf of Shell Lake Health Care
                                           Center LLC



 Date:                                     By:

                                           Printed Name:

                                           Title:

                                           On Behalf of Premier Healthcare
                                           Management of Shell Lake LLC

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 REVIEWED AND APPROVED AS TO FORM:

                                         HAWKS QUINDEL, S.C.

                                         By:

                                         Printed Name: David C. Zoeller

                                         Title: Class Counsel


                                         FOX ROTHSCHILD

                                         By:

                                         Printed Name:

                                         Title: Attorneys for Defendants




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